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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE



                                                    :
  JAZZ PHARMACEUTICALS, INC.,                       :
                     Plaintiff,                     :
                      v.                            :    C.A. No. 21-691-GBW
  AVADEL CNS PHARMACEUTICALS, LLC,
                                                    :
                    Defendant.
                                                    :
                                                    :
                                                    :
  JAZZ PHARMACEUTICALS, INC., et al.,
                                                    :
                     Plaintiffs,
                                                    :    C.A. No. 21-1138-GBW
                      v.
                                                    :
  AVADEL CNS PHARMACEUTICALS, LLC,
                                                    :
                    Defendant.
                                                    :
                                                    :
                                                    :
  JAZZ PHARMACEUTICALS, INC., et al.,
                                                    :
                     Plaintiffs,
                                                    :    C.A. No. 21-1594-GBW
                      v.
                                                    :
  AVADEL CNS PHARMACEUTICALS, LLC,
                                                    :
                    Defendant.
                                                    :




                  DECLARATION OF MOHAN RAO, PH.D.



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                                               Introduction

             1. I am an economist and the Chief Executive Officer of Epsilon Economics. I
    previously submitted a declaration in connection with Avadel’s Opposition to Jazz’s
    Motion for an Injunction or Ongoing Royalty.1
             2. On March 4, 2024, the jury verdict in this litigation found Avadel CNS
    Pharmaceuticals, LLC (“Avadel”) liable for patent infringement, awarding damages
    to Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland Limited (collectively,
    “Jazz”) in the amount of $233,562.83.2 The jury awarded damages based on applying
    a royalty rate of 3.5% to past infringing sales of LUMRYZ of $6,673,223.82.3
             3. I understand that the Court has requested additional briefing and evidence
    from the parties regarding an appropriate ongoing royalty rate. I have been asked by
    counsel for Avadel to evaluate and opine on whether there are changed economic cir-
    cumstances that would impact that rate between the hypothetical negotiation during
    May-June 2023 (the date range of Avadel’s first infringement based on importation
    and sale, respectively) and March 2024 (the date of the jury verdict) and continuing
    through today.4
             4. A list of the additional materials I have considered in forming the opinions
    set forth in this Declaration is attached as Tab 2.5




       1
         Declaration of Mohan Rao, Ph.D., May 13, 2024 (D.I. 605).
       2
         Verdict Form, Jazz v. Avadel, March 4, 2024, pages 11-12.
       3
         Verdict Form, Jazz v. Avadel, March 4, 2024, page 11. I understand that, in response a jury
    question regarding the “Amount of Past Sales to Apply Royalty Rate,” Judge Williams informed
    the jury that “Dr. Rainey testified that the amount of Net past sales of Lumryz since launch is
    $32,519,345. Avadel did not present a damages expert that contested that the amount of net past
    sales of Lumryz since launch is $32,519,345. It is up to the jury to decide whether to believe
    Dr. Rainey and how much weight to give his expert testimony”(Jury Questions & Answers, Jazz v.
    Avadel, March 1 and 4, 2024).
       4
         See, for example, Expert Report of Mark Rainey, Ph.D., September 15, 2023, paragraphs 32-33
    and Expert Report of Christine S. Meyer, Ph.D., October 16, 2023, paragraph 38; and Verdict Form,
    Jazz v. Avadel, March 4, 2024.
       5
         Declaration of Mohan Rao, Ph.D., May 13, 2024, provides the initial list of materials I considered.
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                                      Summary of Opinions

               5. As set forth in greater detail below, I have formed the following opinions:

            Dr. Rainey’s opinion of the royalty expressed at trial was premised upon an
             exclusive license from Jazz to Avadel. By contrast, the non-exclusive license
             granted by the Court would be worth about half as much as an exclusive license,
             putting downward pressure on any post-verdict royalty rate;

            There was extensive evidence and testimony at trial regarding competition be-
             tween Avadel and Jazz such that post-verdict competition between the compa-
             nies is not a changed economic circumstance;

            Dr. Rainey’s royalty opinions are based on an arithmetic calculation that


                            ; and

            In light of the foregoing, it is my opinion that there are no changes to economic
             factors following the hypothetical negotiation date of May-June 2023 that would
             support an upward adjustment of the 3.5% royalty rate awarded by the jury.

                    Dr. Rainey’s Methodology & Royalty Rate Opinion

               6. Dr. Rainey’s methodology to determine his royalty rates relies on Jazz’s
    internal narcolepsy forecast model, which calculates Jazz’s forecasted future lost prof-
    its resulting from the entry of LUMRYZ. Dr. Rainey’s royalty rate analysis can be
    summarized as:6

       1. Forecast (annually for 2023 through February 2036): XYREM net revenue, XY-
             WAV net revenue, and XYREM AG royalties with LUMRYZ in the market;
       6
        Trial Demonstrative, Jazz v. Avadel, PDX-6.19 (see, Tab 3); Trial Transcript, Jazz v. Avadel,
    February 27, 2024, pages 591-593; and JTX-0147.
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       2. Forecast (annually for 2023 through February 2036): XYREM net revenue, XY-
           WAV net revenue, and XYREM AG royalties without LUMRYZ in the market;

       3. Calculate Jazz’s annual expected losses as Step 2 – Step 1;7

       4. Forecast (annually for 2023 through February 2036): LUMRYZ net revenue;

       5. Calculate the annual implied royalty rate as Step 3 ÷ Step 4; and

       6. Determine a royalty rate for 2023-2025 (26.8%), 2026-2032 (12.8%), and 2033-
           2036 (3.4%).

            7. Although Dr. Rainey’s opinion is comprised of three royalty rates — 26.8%,
    12.8%, and 3.4%, depending on the time period (rounded to 27%, 13% and 3.5% in
    his trial testimony)8 — the jury awarded damages based on a 3.5% royalty rate.

                                     Georgia-Pacific Factors

            8. I have been asked to evaluate if there have been any changes to the eco-
    nomic circumstances between the hypothetical negotiation during May-June 2023
    through the jury verdict in May 2024 and continuing through today. Given the rela-
    tively short time period between the hypothetical negotiation date and today, most of
    the economic, commercial, and market circumstances are largely unchanged and thus
    would not indicate that any increase in the jury-determined royalty rate is warranted.
            9. In the paragraphs below, I discuss various Georgia-Pacific factors and
    whether changed economic circumstances since the hypothetical negotiation date and
    verdict date support an adjustment of the jury-determined royalty rate.
       7
         Expected Jazz Annual Loss = (XYREM net revenue without LUMRYZ × 84.1% + XYWAV net
    revenue without LUMRYZ × 84.1% + XYREM AG Royalties without LUMRYZ) – (XYREM net
    revenue with LUMRYZ × 84.1% + XYWAV net revenue with LUMRYZ × 84.1% + XYREM AG
    Royalties with LUMRYZ). To determine Jazz’s losses stemming from XYREM and XYWAV lost net
    revenue, Dr. Rainey applies “Jazz’s commercial contribution margin” of 84.1% (Trial Demonstrative,
    Jazz v. Avadel, PDX-6.19 (see, Tab 3); Expert Report of Mark Rainey, Ph.D., September 15, 2023,
    paragraph 151; and JTX-0151).
       8
         Trial Demonstrative, Jazz v. Avadel, PDX-6.18 (see, Tab 3); and Trial Transcript, Jazz v.
    Avadel, February 27, 2024, pages 590-594.
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    Factor 3: The nature and scope of the license, as exclusive or non-exclusive;
    or as a restricted or non-restricted in terms of territory or with respect to
    whom the manufactured product may be sold


           10. Dr. Rainey states in his expert report that, “[t]he license that results from
    the hypothetical negotiation would be an exclusive license (as to other third parties) in
    the U.S. for FDA-approved uses,” and thus his royalty rates are based on an assumed
    exclusive license.9 He further testified during trial that, “I determined. . . the license
    that they would negotiate would be exclusive as to third parties and all that means is
    that Jazz would grant Avadel a right to use the patents, Jazz would retain the right
    to use those patents itself, but then no other parties would be allowed to use those
    patents.”10
           11. In contrast, I would expect that the Court’s ongoing compulsory license
    would not be exclusive, as this would penalize Jazz by “hand-cuffing” its future ability
    to further monetize its patent rights. For example, an exclusive compulsory license
    would foreclose Jazz from licensing its patents to additional companies seeking to
    commercialize a once-nightly oxybate product.
           12. Based on a study that examined biopharma alliances between 2007 and
    2018, royalty rates for non-exclusive licenses between corporate entities were approxi-
    mately one-half of the royalty rates for exclusive licenses between corporate entities.11
           13. If the Court were to determine that the ongoing compulsory license should
    be non-exclusive, this would put downward pressure on the jury-determined 3.5%
    royalty rate for an exclusive license.




      9
         Expert Report of Mark Rainey, Ph.D., September 15, 2023, paragraph 70.
      10
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 572.
      11
         Mark Edwards, “Recent Trends in Effective Royalty Rates of Biopharma Alliances,” BioSci,
    February 5, 2019, Chart 1 (see, Tab 4).
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    Factor 5: The commercial relationship between the licensor and licensee,
    such as, whether they are competitors in the same territory in the same
    line of business; or whether they are inventor and promoter


           14. During trial, there was extensive testimony about how Avadel and Jazz
    were direct competitors. For example, Dr. Rainey testified during trial that, “[t]hey
    are direct competitors” based on “information from Avadel, third parties” and “infor-
    mation we’ve heard testimony about the past couple of days.”12 Dr. Rainey further
    testified that Avadel predicted there would be “extensive competition between Avadel
    [and] Jazz because Lumryz was taking a big chunk of its patients from Jazz’s prod-
    ucts.”13 Gregory Divis (Avadel’s Chief Executive Officer) testified during trial that
    switching patients from a twice-nightly oxybate product (such as Jazz’s) to Avadel’s
    once-nightly product was “one of [Avadel’s] primary goals and strategies.”14
           15. Dr. Rainey also testified, responding to a question about how the fact that
    Jazz and Avadel are direct competitors affected the reasonable royalty, that “[i]t tends
    to increase the reasonable royalty.”15
           16. In light of the trial testimony, the fact that Jazz and Avadel are in di-
    rect competition (and thus whether an increased royalty rate would be warranted)
    is already subsumed in the jury-determined 3.5% royalty rate. Therefore, direct
    competition pre- and post-trial is not a changed economic circumstance that would
    provide an economic rationale to increase an ongoing compulsory royalty rate above
    the jury-determined 3.5% rate.




      12
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 575.
      13
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 579.
      14
         Trial Transcript, Jazz v. Avadel, February 27, 2024, pages 474 and 501.
      15
         Trial Transcript, Jazz v. Avadel, February 27, 2024, pages 577-578.
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    Factor 8: The established profitability of the product made under the
    patent; its commercial success; and its current popularity


           17. Dr. Rainey utilizes annual net revenue forecasts of LUMRYZ, XYREM, and
    XYWAV from 2023 through February 2036 as part of his analysis.16 Having launched
    in June 2023, LUMRYZ has been on the market for a relatively short amount of time
    and only a small portion of Dr. Rainey’s 12+ year forecast period.17
           18. In connection with assessing the accuracy of the Jazz-provided forecast
    used by Dr. Rainey,




           19.




                          which would put downward pressure on the jury-determined 3.5%
    royalty rate.




      16
         Trial Demonstrative, Jazz v. Avadel, PDX-6.19 (see, Tab 3); Trial Transcript, Jazz v. Avadel,
    February 27, 2024, pages 591-593; and JTX-0147.
      17
         Expert Report of Mark Rainey, Ph.D., September 15, 2023, paragraph 89; and Trial Transcript,
    Jazz v. Avadel, February 27, 2024, page 570.
      18
         Trial Demonstrative, Jazz v. Avadel, PDX-6.19 (see, Tab 3); and Jazz Pharmaceuticals Plc,
    Form 10-K for fiscal year ended December 31, 2023, page 83 (see, Tab 5).
      19
         Trial Demonstrative, Jazz v. Avadel, PDX-6.19 (see, Tab 3); and Jazz Pharmaceuticals Plc,
    Form 10-K for fiscal year ended December 31, 2023, page 83 (see, Tab 5).
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    Factor 9: The utility and advantages of the patented property over the
    old modes or devices, if any, that had been used for working out similar
    results;
                                                  and
    Factor 10: The nature of the patented invention; the character of the com-
    mercial embodiment of it as owned and produced by the licensor; and the
    benefits to those who have used the invention


           20. Dr. Rainey testified at trial that, at the time of the hypothetical negoti-
    ation, Jazz and Avadel were expecting LUMRYZ to be a successful and profitable
    product, and demand for LUMRYZ was due to its meeting “the unmet need [a once-
    nightly product] that Avadel viewed Lumryz fulfilling.”20 Dr. Rainey further testified,
    responding to a question of his understanding if LUMRYZ has been performing as
    Avadel expected, that “things are going according to plan.”21
           21. Dr. Rainey also testified that Jazz has not commercialized a once-nightly
    oxybate product (to compete with LUMRYZ) and Jazz’s forecast did not contemplate
    it selling its own once-nightly product in the future, and accounted for these facts in
    his analysis.22
           22. Further, I note that Avadel’s current estimates for peak LUMRYZ sales are
    consistent with evidence presented at trial. For example, Avadel’s CEO Mr. Divis
    testified that LUMRYZ has the potential to exceed $1 billion in sales.23 Dr. Rainey
    also testified about the $1 billion peak sales opportunity estimate.24 Dr. Rainey fur-
    ther testified that, after LUMRYZ launched, “things are going according to plan. You
    know, they’re still telling people, as we’ve just heard from Mr. Divis, that that peak
    sales opportunity of over a billion dollars. . . ”25 In its most recent earnings call presen-
      20
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 585.
      21
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 588.
      22
         Trial Transcript, Jazz v. Avadel, February 27, 2024, pages 602-603.
      23
         Trial Transcript, Jazz v. Avadel, February 27, 2024, pages 507 and 526.
      24
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 586; and PTX-0300.14.
      25
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 588.
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    tation in August 2024, Avadel provided the same “peak sales opportunity” estimate
    of greater than $1 billion that was presented at trial.26 This indicates that Avadel’s
    expected LUMRYZ sales remain generally consistent with the evidence presented at
    trial and, therefore, LUMRYZ sales expectations since the hypothetical negotiation
    date (or jury verdict) do not present an economic rationale to adjust the royalty rate
    upwards.
             23. Based on my review of publicly available information (e.g., Jazz’s SEC
    filings), I am not aware of changes in Jazz’s plans to not offer a once-nightly oxybate
    product to compete with LUMRYZ. In light of the trial testimony, the once-nightly
    dosing demand driver for LUMRYZ is already subsumed in the jury-determined 3.5%
    royalty rate. Therefore, the utility, advantages, and nature of the patented property
    and the commercial embodiment since the hypothetical negotiation (and trial) is not a
    changed economic circumstance that would provide an economic rationale to increase
    an ongoing compulsory royalty rate above the jury-determined 3.5% rate.

                                                Conclusion

             24. In summary:

            Dr. Rainey’s opinion of the royalty expressed at trial was premised upon an
             exclusive license from Jazz to Avadel. By contrast, the non-exclusive license
             granted by the Court would be worth about half as much as an exclusive license,
             putting downward pressure on any post-verdict royalty rate;

            There was extensive evidence and testimony at trial regarding competition be-
             tween Avadel and Jazz such that post-verdict competition between the compa-
             nies is not a changed economic circumstance; and

            Dr. Rainey’s royalty opinions are based on an arithmetic calculation that




      26
           Investor Presentation, Avadel Pharmaceuticals Plc, August 2024, pages 4 and 6 (see, Tab 6).
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          25. In light of the foregoing, it is my opinion that there are no changes to
    economic factors following the hypothetical negotiation date of May-June 2023 that
    would support an upward adjustment of the 3.5% royalty rate awarded by the jury.




    ———————————–
    Mohan Rao, Ph.D.
    September 16, 2024
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                                  Tab 1
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    Mohan Rao, Ph.D.
    Chairman
    Epsilon Economics                                             Direct: 312.637.2980
    111 South Wacker Drive, 50th Floor                             Main: 312.637.2950
    Chicago, Illinois 60606                                 mrao@epsiloneconomics.com




    Summary

    Dr. Mohan Rao is the Chairman of Epsilon Economics and specializes in antitrust and
    intellectual property economics, with an emphasis on life sciences and technology. He
    has testified as an expert in U.S. and foreign courts and in arbitration proceedings.
    Dr. Rao also serves as the Chief Executive Officer of Expression Therapeutics, a
    biotechnology firm based in Atlanta that is focused on developing advanced therapies
    for hematology and oncology. Dr. Rao previously taught at Northwestern University
    and UCLA and was a Teaching Fellow at Harvard University. He was appointed as
    the first “Executive in Residence” — a recognized leader in the technology community
    — by the McCormick College of Engineering at Northwestern University. Prior to
    Epsilon Economics, Dr. Rao was the head of Navigant Economics, a global economics
    consulting firm. He has a Bachelor of Science in Engineering from the University of
    Michigan, a pre-doctoral fellowship from Harvard University, and a Ph.D. from the
    University of Colorado.
    Dr. Rao serves on the Board of Directors of Expression Therapeutics, Inc., Epsilon
    Xi LLC, the Children’s Hospital of Chicago, the Stanley Manne Children’s Research
    Institute, and the Economic Club of Chicago, on the Board of Trustees of the Chicago
    Symphony Orchestra, and is a member of the Chicago Club.




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    Academic and Professional Experience

        Epsilon Economics
         Chairman/Chief Executive Officer, 2015-present
        Expression Therapeutics
         Chief Executive Officer/Partner, 2007-present
        Navigant Economics
         Managing Director, 2010–2015
        LECG
         Managing Director, 2005–2010
        Northwestern University
         McCormick School of Engineering and Applied Science
         Adjunct Professor, 2006–2020
        Charles River Associates / InteCap, Inc.
         Vice President, CRA, 2004–2005
         Managing Director, InteCap, 2004–2005
         Director, InteCap, 2000–2003
        University of California, Los Angeles
         Assistant Professor, 1994–2001
        Harvard University
         Fellow, Government Data Center, 1993–1994
         Teaching Fellow, 1993–1994


    Education

        B.S. (Engineering), 1989, University of Michigan
        Pre-Doctoral Fellow, 1993–1994, Harvard University
        Ph.D.; M.A. (Economics; Political Science), 1994, University of Colorado


    Selected Fellowships and Awards

        Cooley Award, University of Michigan College of Engineering
        Government Data Center Fellowship, Harvard University

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        David Cattell Fellowship, UCLA
        Faculty Career Development Award, UCLA


    Selected Affiliations

        Member, American Economic Association
        Member, Licensing Executives Society
        Member, American Society of Gene & Cell Therapy
        Member, Institute of Electrical and Electronics Engineers (IEEE)


    Expert Testimony

       1. Fortinet Inc. v. Forescout Technologies, Inc.
          U.S. District Court – Northern District of California (San Francisco Division)
          Case No. 3:20-cv-03343-EMC
       2. Alexion Pharmaceuticals, Inc. et al v. Samsung Bioepis Co. Ltd.
          U.S. District Court – District of Delaware
          C.A. No. 1:24-cv-00005-GBW
       3. The Sanborn Library LLC et al. v. ERIS Information Inc. et al.
          U.S. District Court – Southern District of New York
          No. 1:19-cv-02049-LAK-OTW
       4. Arbor Pharmaceuticals, LLC and Takeda Pharmaceutical Company
          Limited v. Saba Ilac Sanayii Ve Ticaret As et al.
          U.S. District Court — District of Delaware
          Civil Action No. 20-353-MN
       5. Puma Biotechnology, Inc. et al v. AstraZeneca Pharmaceuticals LP et al
          U.S. District Court — District of Delaware
          C.A. No. 21-1338-MFK
       6. Amgen, Inc. et al v. Sandoz Inc.
          U.S. District Court — District of New Jersey
          C.A. No. 1:23-CV-02406-CPO-EAP




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       7. Curia Global, Inc. et al. v. Cyprium Therapeutics, Inc.
          American Arbitration Association
          Case No. 01-22-0003-4042
       8. 300 North LaSalle LLC v. Hines Interests Limited Partnership
          Federal Arbitration, Inc.
          Case No. F22-JW-A-DFG-0603
       9. In re: Certain Selective Thyroid Hormone Receptor-Beta Agonists. Processes
          for Manufacturing or Relating to Same, and Products Containing Same
          On behalf of: Viking Therapeutics, Inc.
          United States International Trade Commission
          Investigation No. 337-TA-1352
      10. Azurity Pharmaceuticals, Inc. v. Amneal Pharmaceuticals, LLC
          U.S. District Court — District of New Jersey
          Civil Action No. 3:21-cv-08717-FLW-DEA
      11. PhaseBio Pharmaceuticals, Inc. v SFJ Pharmaceuticals X, Ltd.
          U.S. Bankruptcy Court — District of Delaware
          Case No. 22-10995 (LSS), Adv. Proc. No. 22-50456 (LSS)
      12. Endo International plc et al. v Nevakar, Inc., et al.
          U.S. Bankruptcy Court — Southern District of New York
          Case No. 22-22549 (JLG), Adv. Proc. No. 22-07034 (ALG)
      13. Merck Sharp & Dohme Corp. v Zydus Worldwide DMCC et al.
          U.S. District Court — District of Delaware
          No. 1:21-cv-00315-RGA
      14. Novartis Pharma AG v Incyte Corporation
          U.S. District Court — Southern District of New York
          Civil Action No. 1:20-cv-00400-GHW
      15. SmartSky Networks, LLC v. Gogo Business Aviation, LLC et al.
          U.S. District Court — District of Delaware
          C.A. No. 22-266 (VAC)
      16. Celldex Therapeutics, Inc. v. Shareholder Representative Services LLC
          Court of Chancery — State of Delaware
          C.A. No. 2020-0682-MTZ
      17. Taiho Pharmaceutical Co., Ltd v. Accord Healthcare Inc. et al
          U.S. District Court — District of Delaware


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         Civil Action Nos. 1:19-cv-02321 (CFC), 1:19-cv-02309 (CFC)
         Civil Action Nos. 1:19-cv-02342 (UNA), 1:19-cv-02368 (UNA)
      18. Actelion Pharmaceuticals Ltd. v. Mylan Pharmaceuticals Inc.
          U.S. District Court — Northern District of West Virginia
          Civil Action No. 1:20-CV-110 (Keeley)
      19. Syngenta Crop Protection AG v. FMC Corporation
          FMC Corporation v. Syngenta Crop Protection AG
          American Arbitration Association
          AAA Case No. 01-19-0002-4208, 01-19-0002-4192
          Neutral Expert to the Tribunal
      20. Novartis Pharma AG v. Mitsubishi Tanabe Pharma Corporation
          International Court of Arbitration
          Case No. 24256/PTA
      21. Wemade Co., Ltd. et al v. Lansha Information Technology Co., Ltd. et al.
          International Court of Arbitration
          Case No. 22820/PTA/HTG
      22. Horizon Medicines LLC et al. v. Dr. Reddy Laboratories Inc. et al.
          U.S. District Court — District of New Jersey
          Case No. 2:15-cv-03324 (SRC) (CLW)
      23. Ravgen, Inc. v. Natera, Inc. and NSTX, Inc.
          U.S. District Court — Western Division of Texas (Austin Division)
          Civil Action No. 6-20-CV-00451
      24. Seattle Genetics, Inc. v. Daiichi Sankyo Co., Ltd.
          American Arbitration Association
          Case No.: 01-19-0004-0115
      25. Humana Health Plan, Inc. et al. v. Walgreen Co. et al.
          American Arbitration Association
          AAA Case 01-19-0002-5131
      26. Merck Sharp & Dohme Corp. et al. v. Actavis Laboratories FL et al.
          U.S. District Court — District of New Jersey
          C.A. No. 2:15-CV-06541
      27. Club Champion LLC v. True Spec Golf LLC
          U.S. Patent and Trademark Office — Patent Trial and Appeal Board
          Inter Partes Review No. IPR2019-01148


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      28. Actelion Pharmaceuticals Ltd. v. Zydus Pharmaceuticals (USA) Inc.
          U.S. District Court — District of New Jersey
          C.A. 18-1397 (FLW)(LHG)
      29. Treehouse Foods, Inc. et al. v. Keurig Green Mountain, Inc.
          U.S. District Court — Southern District of New York
          No. 1:14-CV-00905-VSB
      30. Ingevity Corporation et al. v. BASF Corporation
          U.S. District Court — District of Delaware
          Case No. 18-1391-RGA
      31. Niazi Licensing Corporation v. St. Jude Medical S.C., Inc.
          U.S. District Court — District of Minnesota
          C.A. No. 017-cv-5096-WMT-BRT
      32. Glaukos Corporation v. Ivantis, Inc.
          U.S. District Court – Central District of California
          C.A. No. 8:18-cv-00620-JVS-JDE
      33. C.R. Bard, Inc. v. Medline Industries, Inc.
          U.S. Patent and Trademark Office — Patent Trial and Appeal Board
          Inter Partes Review No. IPR2019-00035
          Inter Partes Review No. IPR2019-00036
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      35. Maverick Therapeutics, Inc. et al. v. Harpoon Therapeutics, Inc.
          Court of Chancery — State of Delaware
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      36. Koppers (Jiangsu) Carbon Chemical Company Limited v. Fangda C-
          Chem (Jiangsu) Needle Coke Co., Ltd.
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          Case No. G20180547
      37. Rockwell Automation, Inc. v. Radwell International, Inc.
          U.S. District Court — District of New Jersey
          Civil Action No.: 15-cv-05246 (RBK) (JS)
      38. Delcor Asset Corporation et al. v. Taro Pharmaceutical Industries et al.
          U.S. District Court — Southern District of New York

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          U.S. District Court — District of Colorado
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      40. Juno Therapeutics, Inc. et al. v. Kite Pharma, Inc.
          U.S. District Court — Central District of California
          Case No.: 2:17-CV-07639
      41. Välinge Innovation AB v. Halstead International, The Home Depot, Inc.
          U.S. District Court — District of Delaware
          C.A. No. 16-1082-LPS-CJB
      42. In re: Merck Mumps Vaccine Antitrust Litigation
          On behalf of: Merck & Co., Inc.
          U.S. District Court — Eastern District of Pennsylvania
          No. 2:12-cv-03555
      43. Blue Cross Blue Shield Association, et al. v. GlaxoSmithKline LLC.
          U.S. District Court — Eastern District of Pennsylvania
          Civil Action No. 2:13-cv-4663-JS
      44. In the Matter of Certain Programmable Logic Controllers (PLCs), Components
          Thereof, and Products, Containing Same
          On behalf of: Rockwell Automation, Inc.
          United States International Trade Commission
          Inv. No. 337-TA-1105
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          International Court of Arbitration
          Case No. 22593/PTA
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          U.S. District Court — District of New Jersey
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      51. Purdue Pharma L.P. et al. v. Amneal Pharmaceuticals, LLC
          U.S. District Court — District of Delaware
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      52. KVK-Tech, Inc. v. Valeant Pharmaceuticals International, Inc. et al.
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      55. Bayer Consumer Care, AG., et al. v. Belmora, LLC, et al.
          United States District Court — Eastern District of Virginia (Alexandria Divi-
          sion)
          Case No.: 1:14-cv-00847 (CMH)(JFA)
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          maceuticals USA, Inc. et al.
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          No. 3:14-CV-7811 (MLC-TJB); No. 3:14-CV-1662 (MLC-TJB); No. 3:14-CV-
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          American Arbitration Association
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          United States District Court — Northern District of California
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          Electronics (Suzhou) Co., Ltd. China
          International Court of Arbitration
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          County of Hennepin (Fourth Judicial District) — State of Minnesota
          No. 27-CV-15-3785
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          Inc., et al.
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          U.S. District Court — District of Delaware
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          Circuit Court — Montgomery County, Maryland (Judge Ronald B. Rubin)
          Civil No. 373798-V
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          Case No.: 3:13-cv-02171-SC
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          C.A. No. 10-CV-4931 (SDW) (MCA)
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          U.S. District Court — Northern District of Illinois
          Civil Action No. 1:12-cv-00630
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          C.A. No. 07-cv-1299 (SRC)(MAS)
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          U.S. District Court — District of New Jersey
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          U.S. District Court — New Jersey
          Civ. Action No. 2:09-cv-05283; Civ. Action No. 2:09-cv-06335
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          U.S. District Court — Northern District of California
          Case No. 3:11-cv-06391-SI
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          On behalf of: Dell Inc. and Dell Products L.P.
          U.S. District Court – Northern District of California (San Francisco Division)
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          Supreme Court of the State of New York — County of Suffolk (Judge Emily
          Pines)
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          et al.
          U.S. District Court — District of Massachusetts (Judge Douglas P. Woodlock)
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          American Arbitration Association
          Case No. 14 122 Y 00403 09
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          U.S. District Court — Northern District of California
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          Civil Action No.: 08-CV-234
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          Superior Court of the State of California – For the County of San Francisco
          Case No.: CGC 08-471260
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          On behalf of: John Miszuk
          U.S. District Court – Southern District of New York
          Civil Action No.: 08 Civ. 02979(LAK)
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          Civil Action No.: 4:04-CV-1304RWS
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          On behalf of: Schering-Plough Corporation
          U.S. District Court – District of New Jersey
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     131. Boehringer Ingelheim International GmbH and Boehringer Ingelheim
          Pharmaceuticals, Inc. v. Barr Laboratories Inc.
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          Roxane Laboratories, Inc.
          U.S. District Court – Southern District of Ohio (Eastern Division)
          Case No.: C2 05 889
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          Civil Action No.: 05-434-GMS
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          Case No.: CV-S-05-1112-RCJ-RJJ
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          AAA No.: 50 181 T 00350 05 (Judge Edward N. Cahn)
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          ABPS Management, L.L.C., et al.
          American Arbitration Association
          AAA No.: 70 180 Y 00655 04
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          U.S. District Court – Central Division of California (Western Division)
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          On behalf of: Mercantile Capital LLC
          U.S. District Court – Eastern District of Pennsylvania
          C.A. No. 00-CV-3281 (Judge Clifford Scott Green)
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          Case No.: 03-209-JJF (Judge Joseph J. Farnan, Jr.)
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      28. “Military Spending in India.” Defence Economics, Vol. 3, p. 41–64, 1991 (with
          Michael D. Ward et al).


    Presentations and Speeches

       1. “Economics of Intellectual Property in Life Sciences Litigation,” New York Uni-
          versity School of Law, March 23, 2022 (with Anna King).
       2. “The Coming Transformation of Medicine,” Multidisciplinary Training Program
          in Child and Adolescent Health (TL1), Northwestern University Clinical and
          Translational Sciences Institute (NUCATS), December 13, 2021.
       3. “Regression Analysis in Litigation,” Revenue Estimation Case Study, AICPA
          & CIMA Forensic & Valuation Services Conference, November 9, 2020 (with
          Christian Tregillis).
       4. “Disruptive Innovations in Biotechnology,” Invited Speaker, IEEE Technology
          & Engineering Management Society, Chicago, June 29, 2018.
       5. “The New World of Marketing and Finance,” Shirley Ryan Lecture Series on
          “Big Data: Impact On Our Lives,” Northwestern University, November 5, 2014.
       6. “Role of the Expert After Apple v. Motorola,” Litigating Patent Damages, Law
          Seminars International, San Francisco, May 29-30, 2014.
       7. “Dealing with Uncertainty of Damages and Injunctive Relief in the World of
          IP,” Annual Conference of the Association of Corporate Counsel, Wisconsin
          Chapter, Elkhart Lake, Wisconsin, May 9-10, 2013.
       8. “Game Theory Applications to BioPharma Deal Negotiations,” Annual Meet-
          ings of the Licensing Executives Society, Chicago, September 29, 2010.
       9. “Valuing Pharmaceutical and Biotechnology Pipelines,” a Professional Devel-
          opment Series Workshop at the Annual Meetings of the Licensing Executives
          Society, Chicago, September 26, 2010.




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      10. “Commercializing Technology Through the Power of IP Licensing,” a Profes-
          sional Development Series Course, Licensing Executives Society, Chicago, April
          26, 2010.
      11. “How to Value High Risk Early Stage Technologies,” Mornings@McCormick,
          Northwestern University, Evanston, April 13, 2010.
      12. “Valuation of Early Stage Pharmaceutical and Biotechnology Pipelines,” Work-
          shop at the Annual Meetings of the Licensing Executives Society, San Francisco,
          October 21, 2009.
      13. “Valuation, Taxation, and Pricing Issues with Intellectual Property,” Workshop
          at the Annual Meetings of the Licensing Executives Society, Orlando, October
          19, 2008.
      14. “Valuation of Early Stage Technologies,” Indian School of Business, Hyderabad,
          India, August 19, 2008.
      15. “Valuation of Intellectual Property,” 2nd Annual Patent Law Institute, Prac-
          tising Law Institute, New York, New York, January 14-15, 2008.
      16. “Economic Analysis in Class Actions,” Seminar on Innovative Strategies for
          Litigating Class Actions, Law Seminars International, Los Angeles, California,
          November 12–13, 2007.
      17. Recent Key Developments in Intellectual Property Law and Applicability at the
          Global Level, XPRT Forum, Sonoma, California, October 3-6, 2007.
      18. Effective Development and Presentation of Expert Testimony, Law Seminars
          International, Chicago, Illinois, September 24–25, 2007 (co-chair w/ Alan Sil-
          berman).
      19. “Intellectual Asset Management: Valuation,” a Professional Development Series
          Intermediate Course, Licensing Executives Society, Chicago, July 10, 2007.
      20. “Intellectual Asset Management: Advanced Valuation Skills,” a Professional
          Development Series Advanced Course, Licensing Executives Society, Philadel-
          phia, June 13–14, 2007.
      21. “Intellectual Asset Management: Valuation,” a Professional Development Se-
          ries Intermediate Course, Licensing Executives Society, Philadelphia, March 13,
          2007.
      22. “Intellectual Asset Management: Advanced Valuation Skills,” a Professional
          Development Series Advanced Course, Licensing Executives Society, San Fran-
          cisco, November 1–2, 2006.

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      23. “Implementing Valuation Methods,” a Professional Development Series Inter-
          mediate Workshop at the Annual Meetings of the Licensing Executives Society,
          New York, September 12, 2006.
      24. “Intellectual Asset Management: Valuation,” a Professional Development Series
          Intermediate Course, Licensing Executives Society, San Francisco, April 25,
          2006.
      25. Effective Development and Presentation of Expert Testimony, Law Seminars
          International, Chicago, Illinois, March 20–21, 2006 (co-chair w/ Alan Silber-
          man).
      26. “Lost Profits When the Patent is Only Part of the Whole,” Seminar on Calculat-
          ing and Proving Patent Damages, Law Seminars International, San Francisco,
          California, February 27–28, 2006.
      27. “The Use and Misuse of Statistics,” The American Institute of Certified Public
          Accountants, Jersey City, New Jersey, December 2, 2005.
      28. “Use of Statistics in IP Litigation” Presentation to McAndrews, Held & Malloy,
          Chicago, December 1, 2005.
      29. “Intellectual Asset Management: The Deal,” a Professional Development Se-
          ries Fundamentals Course, Licensing Executives Society, Arlington, Virginia,
          November 8-9, 2005.
      30. “Implementing Valuation Methods,” a Professional Development Series Inter-
          mediate Workshop at the Annual Meetings of the Licensing Executives Society,
          Phoenix, October 18, 2005.
      31. “Damages and Antitrust Issues in Intellectual Property Litigation” Presentation
          to Dykema Gossett, Chicago, July 21, 2005 (w/ Kathi Kedrowski).
      32. “Intellectual Asset Management: Valuation,” a Professional Development Series
          Intermediate Course, Licensing Executives Society, Chicago, July 19, 2005.
      33. “Implementing Valuation Methods,” a Professional Development Series Inter-
          mediate Workshop at the Annual Meetings of the Licensing Executives Society,
          Boston, October 17, 2004.
      34. “Use of Surveys and Statistics in Litigation,” Workshop at the Advanced Busi-
          ness Litigation Institute, Palm Springs, May 9, 2003.
      35. “Real Option Valuation,” Presented at the 2002 Winter Meeting of the Licensing
          Executives Society, Lake Las Vegas, February 14, 2002.


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      36. “Networked Computer Simulations,” CyberSpace@UCLA, UCLA Anderson Sch-
          ool of Management, Los Angeles, May 2, 2002.
      37. “Improving IP Financial Performance.” Presentation to Jones, Day, Reavis &
          Pogue, Los Angeles, June 20, 2001 (w/ David Haas).
      38. “Intellectual Property: The New Global Currency,” Jacob Marschak Collo-
          quium, UCLA Anderson School of Management, June 8, 2001.
      39. “Commerce and Democracy.” Presented at the conference on Spatial Analysis
          for Political Methodology, University of Colorado, Boulder, March 2000.
      40. “Determinants of International Trade Flows in an Era of Globalization.” Pre-
          sented at the UCLA Conference on International Institutions, Lake Arrowhead,
          February 2000.
      41. “Exploring the Dynamics of Interstate Conflict.” Presented at the Meetings of
          the International Studies Association, Des Moines, Iowa, October 1999.
      42. “Exploring the Dynamics of Interstate Conflict.” Presented at the UCLA Con-
          ference on Norms in International Relations, Los Angeles, October 1999.
      43. “Globalization and the Decline of Power Politics.” Presented at the Annual
          Meetings of the APSA, Atlanta, September 1999.
      44. “Inferring Micro– from Macrolevel Change.” Presented at the Annual Meetings
          of the MPSA, Chicago, April 1998 (with Alexander A. Schuessler).
      45. “Overtime Inference in Cross Sectional Surveys.” Presented at California Insti-
          tute of Technology, November 7, 1997.
      46. “Overtime Inference in Cross Sectional Surveys.” Presented at UCLA, October
          8, 1997.
      47. “Ecological Inference in Cross Sectional Surveys.” Presented at the Annual
          Meetings of the APSA, Washington, D.C., August 1997 (with Alexander A.
          Schuessler).
      48. “Governance in a Multinational World.” Presented at the Workshop on Global
          and Regional Governance, Institute of Global Conflict and Cooperation, UC
          San Diego, May 1997.
      49. “The Strategic Design of Trade Policy Outcomes: The Politics of Section 301.”
          Presented at the Annual Meetings of the APSA, San Francisco, August 1996
          (with Susanne Lohmann).



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      50. “Polarization and Political Violence.” Presented at the Summer Methods Con-
          ference, Ann Arbor, Michigan, July 1996 (with Patrick Asea).
      51. “How Trade–Related are Intellectual Property Rights?” Presented at the In-
          ternational Economics Workshop, UCLA, April 3, 1996.
      52. “The Politics of Section 301: Institutional Design and Policy Outcomes.” Pre-
          sented at the Annual Meetings of the International Studies Association, San
          Diego, March 1996 (with Susanne Lohmann).
      53. “Military Spending in India.” Presented at the Conference on Security in South
          Asia, Jawaharlal Nehru University, New Delhi, January 1996.
      54. “Patents, Trade, and Foreign Direct Investment.” Presented at the Annual
          Meetings of the Allied Social Science Associations, San Francisco, January 1996
          (with Keith E. Maskus).
      55. “Forecasting the Collapse of the Soviet Union.” Presented at the Annual Meet-
          ings of the Peace Science Society International, Urbana–Champaign, November
          1994 (with Michael D. Ward).
      56. “Trade and Market Openness.” Presented at the International Colloquium on
          Defining a New Partnership Between North America and Europe, Institute of
          Behavioral Science, Boulder, July 1994.
      57. “Guns and Growth Around the World.” Presented at the Annual Meetings
          of the International Studies Association, Washington, D.C., March 1994 (with
          Michael D. Ward).
      58. “Trade and Patents: An Empirical Study.” Presented at the National Bureau
          of Economic Research Universities Research Conference on International Trade
          Rules and Institutions, Cambridge, December 1993 (with Keith E. Maskus).
      59. “The Trade Crises That Never Happened.” Presented at the 6th Hispanic
          Symposium on Business and the Economy, Boulder, October 1992 (with Barry
          W. Poulson).
      60. “Export Orientation and Economic Growth: Stylized Facts for Select Develop-
          ing Countries.” Presented at the Annual Meetings of the International Studies
          Association, Atlanta, April 1992 (with David R. Davis).




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                                  Tab 2
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                       List of Additional Materials Considered

Defendant’s Expert Reports

  1. Declaration of Mohan Rao, Ph.D., May 13, 2024 (including all materials considered in connection with that Declaration).



SEC Documents

  1. Avadel Pharmaceuticals Plc, Form 10-Q for the quarterly period ending June 30, 2024.

  2. Investor Presentation, Avadel Pharmaceuticals Plc, August 2024.

  3. Jazz Pharmaceuticals Plc, Form 10-Q for the quarterly period ending June 30, 2024.



Books, Articles and Other Information

  1. Mark Edwards, “Recent Trends in Effective Royalty Rates of Biopharma Alliances,” BioSci, February 5, 2019.



Trial Exhibits

  1. PDX-6




                                                             Highly Confidential                                               Tab 2
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                                  Tab 3
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            Jazz Pharmaceuticals, Inc.
                       v.
         Avadel CNS Pharmaceuticals, LLC
            Civil Action Nos. 21-691, 21-1138, 21-1594




          Direct Examination of
                Dr. Mark Rainey



                                                                                   PDX-6.1
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Proposed Royalty Rates


            Time Period                                              Royalty Rate

             2023-2025                                                        27%


             2026-2032                                                        13%


             2033-2036                                                        3.5%


                                                                                                 PDX-6.18
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 Recoupment Royalty Rate Calculation




JTX-0147                                                                                          PDX-6.19
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                                  Tab 4
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                                                         Alliance Trends


                       Recent Trends in Effective
                      Royalty Rates of Biopharma
                               Alliances

                                                         by Mark Edwards

                   February 5, 2019
                                                                                                         Share 



                   Over the past two years 300+ recent biopharma alliances have revealed their
                   royalty and other financial terms via FOIA and other SEC filings. We've taken
                   this opportunity to update our Effective Royalty Rate (EFR) analysis to reflect the
                   most recent trends.


                                                    View Attached Document



             Ⅰ. Introduction
             In March 2017 BiosciBD published an article entitled Effective Royalty Rates in Biopharma Alliances: What
             They Are and Why Use Them in Negotiations . This article was based on an analysis of approximately 1,350
             unredacted biopharma licenses and related agreements commenced between 1997 and 2016.

             The 2017 analysis utilized effective royalty rates (EFRs) as the basis for evaluating post-commercialization
             terms of biopharma alliances. Briefly, the concept of EFR entails the application of an agreement’s specific
             royalty rate provision to three assumed annual sales levels, namely $200M, $500M and $1 billion.

             Approximately 60% (820) of the unredacted biopharma alliances in the 2017 analysis consisted of deals signed
             between 1997 and 2006, with the balance of the dataset fairly evenly divided between the 1987-96 (263) and
             2007-16 (276) time periods. These agreements were obtained from the BioSci deal database ( BiosciDB.com )

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             as material contracts filed with the SEC. To obtain unredacted versions, most of these agreements were
             retrieved by BioSci via Freedom of Information Act (FOIA) requests.

             Among other findings, the 2017 analysis observed that for biopharma alliances signed since 2007, average
             EFRs declined by 2-3% of annual product sales as compared to 1997-06 deals for all but discovery stage and
             regional licenses. Given the time lag associated with obtaining unredacted contracts via FOIA requests,
             however, the 276 deals in the 2007-16 cohort of biopharma alliances were too few to permit a more nuanced
             analysis of recent trends in EFRs.

             We revisited this analysis recently and found that the 2007+ cohort of biopharma alliances with known EFRs in
             the BioSci deal database has grown substantially – to 595 deals having one or more royalty rates expressed as
             a percentage of product sales. This larger cohort was sufficient to permit an analysis of recent trends in EFRs
             of biopharma alliances.

             As compared to our 2017 analysis, corporate and university EFRs have continued to slide even as Deal Sizes
             have increased. In the most recent 2013-18 deal cohort, average EFRs were 2-3% lower than in the decade
             ending in 2006, while average Deal Sizes doubled or more for all but lead stage deals. Secondly, as compared
             to worldwide alliances, Phase I/II and Phase III regional deals retained their higher EFRs in recent years, while
             preclinical stage regional deals fell by 2% and preclinical stage worldwide alliances experienced a 3% drop.
             Thirdly, while the 18 Top Pharma outspent other licensee categories (i.e. Mid Tier Pharma & 14 Major Biotechs,
             Japanese Pharma, Other Licensees) substantially in average Deal Size, these other licensee categories paid
             higher EFRs for both preclinical and late stage deals relative to Top Pharma.

             The remainder of this paper is divided into the following sections: Section II describes the methodology used
             in the selection, coding and analysis of biopharma alliances in the current analysis; Section III discusses
             findings for the 595 biopharma deals signed since January 2007 taken as a group; Section IV shows changes in
             EFRs over the 2007 and 2008-09 time intervals; Section V shows changes in EFRs over the 2010-12 and 2013-18
             time intervals; and Section VI presents conclusions and suggestions for additional research.



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             Ⅱ. Methodology
             As with the 2017 analysis, all of the biopharma agreements used in the current study were obtained from the
             BioSci deal database ( BiosciDB.com ). BiosciDB tracks biopharma alliances and acquisitions from the early
             1980s to the present. The deal database currently consists of approximately 24,600 SEC-filed biopharma
             contracts and amendments, of which 9,300 are redacted and 15,300 are available on an unredacted basis.

             For the current study, I searched for deals signed since January 2007 which are coded by BioSci’s analysts as
             having an EFR @ $200M sales of at least 0.5%. This selection criterion eliminated most acquisition, asset
             purchase, co-promotion, distribution, joint venture and supply agreements, since such deals generally don’t
             utilize royalty-based sales compensation.

             Of the 595 biopharma alliances, 72% (431) were FOIA versions of SEC-filed contracts, 19% (114) were SEC-filed
             contracts that weren’t redacted when filed, 8% (47) were redacted SEC-filed contracts wherein the EFRs
             weren’t redacted, and 1% (3) came from financial notes or deal press release disclosures. For trend analysis,
             the dataset was split into four approximately equal cohorts, as follows: 26% (152) of the deals were signed in
             2007; 24% (143) of the deals were signed in 2008-09; 27% (164) of the deals were signed in 2010-12; and 23%
             (136) of the deals were signed in 2013-18.

             BioSci’s definitions of the various financial terms included in this analysis are as follows:


               1. EFR $200M – the Effective Royalty Rate (EFR) owed by licensee to licensor in the event that annual net
                  sales reach $200M;

               2. EFR $500M – the Effective Royalty Rate (EFR) owed by licensee to licensor in the event that annual net
                  sales reach $500M;

               3. EFR $1B – the Effective Royalty Rate (EFR) owed by licensee to licensor in the event that annual net sales
                  reach $1 Billion;

               4. Deal Size – a summation of all upfront, R&D and milestone payments, including any equity or loan
                  amounts, to be paid to the licensor; and

               5. Maximum Share (“Max Share”) – the highest royalty tier, profit split and/or transfer price owed to the
                  licensor.



             Ⅲ. EFR Analysis of 2007-18 Deals

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             Chart 1 shows the average EFRs for 595 biopharma alliances signed between January 2007 and December
             2018. 26% (157) of the deals in the dataset involve universities or other research institutions (including the
             NIH) as licensor. Average EFRs for these university deals are 3.0 to 3.3%, and increase only slightly based on
             exclusivity or higher assumed sales levels. By contrast, 74% (438) of the deals in the dataset involve corporate
             licensors. Approximately 9% (38) of the corporate deals are nonexclusive, and these have EFRs of 5%,
             increasing slightly with higher assumed sales levels. 91% (400) of the corporate deals are exclusive, with EFRs
             approximately double the nonexclusive rates.

             For the subset of 2007-18 exclusive corporate deals involving compounds in preclinical or more advanced
             stages of development at signing, Chart 1 shows that EFRs increase by 3-4% from preclinical to Phase I/II
             stage deals, and again by about 5% from Phase I/II to Phase III stage. In each instance, “Max Share” refers to
             the impact of profit split or supply-based sales compensation on average EFRs due to certain deals having
             these elements.

             Table 1 displays average and median EFRs, Max Share and Deal Size for 2007-18 worldwide and regional
             corporate deals by development stage at signing. As might be expected, EFRs increase, on both an average
             and median basis, by stage at time of signing for worldwide and regional deals, as does Deal Size. Regional
             deals have lower non-royalty financial consideration than worldwide deals, which is unsurprising, but higher
             EFRs for preclinical and Phase I/II stages, which is somewhat unexpected. Also surprising is that discovery
             stage deals outperform lead and preclinical stage alliances, both in terms of deal size and EFRs, on an average
             and median basis.

             Chart 2 graphs average EFRs at assumed annual sales of $500M for 2007-18 corporate worldwide and regional
             deals, as well as for university exclusive deals, by development stage at signing. Worldwide corporate deals
             show gains to EFR with each advance in stage at signing, with the biggest gain associated with deals
             commenced at Phase III. Regional corporate deals have higher EFRs than worldwide deals at preclinical,
             Phase I/II and Phase III stages (there are insufficient regional corporate deals at the discovery or lead stages to
             analyze). University deals, by contrast, show little gains to EFRs associated with deal commencement at more
             advanced stages of development.

             Finally with respect to the 2007-18 dataset, Chart 3 shows that the average and median Deal Size for
             compound-based alliances involving 18 Top Pharma licensees is 2-7 fold higher than for other categories of
             commercialization partners, but these other licensees agreed to higher EFRs than did Top Pharma for
             preclinical and late stage deals.



             Ⅳ. EFR Analysis of 2007 Versus 2008-09 Deals
             Chart 4 shows the average EFRs for 152 biopharma alliances signed during 2007, while Chart 5 has an
             equivalent analysis for 143 deals signed between January 2008 and December 2009. 72% (109) of the deals in
             the 2007 cohort involve corporate licensors, of which 59% (64) involve worldwide rights and 32% (34) are for
             one or two major geographic regions. The 2008-09 cohort has 73% (104) of alliances involving corporate
             licensors, of which 52% (54) are for worldwide rights and 39% (41) are for one or two major regions.

             Average EFRs for 2008-09 worldwide corporate deals are 1.5% higher than for 2007, but regional corporate
             deals have lower EGFs in 2008-09 by 1-2%. For the subset of 2008-09 exclusive corporate deals involving
             compounds in preclinical or more advanced stages of development at signing, Charts 4 & 5 show that EFRs
             increased 1.5% for Phase I/II deals, increased slightly for Phase III deals, and decreased by 1-2% for Preclinical
             stage deals.

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             With respect to alliances involving universities or other research institutions as licensors, Charts 4 & 5 show
             that EFRs increased by 0.5% for exclusive licenses at Preclinical stage, but decreased by a similar percentage
             for exclusive licenses signed at lead stage of development.



             Ⅴ. EFR Analysis of 2010-12 Versus 2013-18 Deals
             Chart 6 shows the average EFRs for 164 biopharma alliances signed between January 2010 and December
             2012, while Chart 7 has an equivalent analysis for 136 deals signed between January 2013 and December
             2018. 69% (113) of the deals in the 2010-12 cohort involve corporate licensors, of which 63% (71) involve
             worldwide rights and 29% (33) are for one or two major geographic regions. The 2013-18 cohort has 82% (112)
             of alliances involving corporate licensors, of which 65% (73) are for worldwide rights and 27% (30) are for one
             or two major regions.

             Average EFRs for 2013-18 worldwide corporate deals are 1% higher than for 2010-12 (but 3.5% lower than for
             the 2008-09 cohort, as noted above), while regional corporate deals also have 1% higher EGFs for the most
             recent period, and have returned to the EFR rates seen in 2007. For the subset of 2013-18 exclusive corporate
             deals involving compounds in preclinical or more advanced stages of development at signing, Charts 6 & 7
             show that EFRs increased 1.5% for preclinical and Phase I/II deals but decreased by 1.5% for Phase III stage
             deals.

             With respect to alliances involving universities or other research institutions as licensors, Charts 6 & 7 show
             that EFRs decreased slightly for exclusive licenses at both the lead and preclinical stages.



             Ⅵ. Conclusion & Additional Research
             As noted in our 2017 analysis, effective royalty rates (EFRs) provide an easily understood tool for rendering
             tiered royalty rates comparable across various deal structures without losing the specific financial
             implications of each deal’s royalty provision. When combined with other components of total deal
             consideration, such as upfronts and milestones, obtained from unredacted agreements, EFRs become a
             cornerstone of reliable benchmarking for negotiation, transfer pricing and reasonable royalty determination
             purposes. We intend to undertake additional analyses of recent trends in EFRs as more biopharma contracts
             become available through SEC filings and FOIA releases.




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Recent Trends in
Effective Royalty Rates of
Biopharma Alliances



Mark G. Edwards
Managing Director
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Chart 1: Effective Royalty Rates (EFRs) for Biopharma Alliances
             Commenced Between 2007 and 2018
   For 595 Biopharma Alliances signed between 2007 and 2018, EFRs
   Increased on the basis of (i) Clinical stage at signing, (ii) Corporate vs.
   University licensor, & (iii) Exclusive vs. Nonexclusive license

                                                              EFR     EFR      EFR         Max
                                                             $200M   $500M     $1B         Share
                    By Stage •• Phase    III (N=52)          14.50   15.76     16.67       22.00
                                  Phase I/II (N=109)         9.67    10.20     11.01       15.18
                  (Corp & Excl) • Preclinical (N=85)         6.51     6.89     7.39        10.20

                                     • All (N=438)            9.37    9.83     10.37       14.01
                   Corporate         • Exclusive* (N=400)     9.79   10.29     10.88       14.62
                                     • Nonexclusive (N=38)    5.02    5.05     5.06        7.71

                                     • All (N=157)            3.21    3.22      3.27        3.44
                   University        • Exclusive (N=139)      3.26    3.28      3.33        3.53
                                     • Nonexclusive (N=16)    3.00    3.00      3.00        3.00




                  * Corporate exclusive licenses include 6 semi‐
                  exclusive deals for data aggregation purposes
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Table 1: 2007‐18 Regional Deals Have Higher EFRs But Lower
         Deal Size than Worldwide Corporate Deals
                      EFR $200M       EFR $500M        EFR $1B         Max Share        Deal Size $M


    Discovery      6.45 Average    6.71 Average    7.15 Average     13.19 Average    $267.2M Average

     WW (N=31)     7.00 Median     7.00 Median      7.50 Median     10.00 Median     $204.6M Median



  Lead Stage       4.66 Average    4.80 Average    5.03 Average     7.39 Average     $108.1M Average

     WW (N=25)     4.00 Median     4.00 Median      4.00 Median     5.00 Median       $28.7M Median


                   6.11 Average    6.47 Average    6.98 Average     10.05 Average    $151.5M Average
   Preclinical
                   6.00 Median     6.30 Median      7.35 Median     10.00 Median      $83.0M Median
     WW (N=72)
                   8.73 Average    9.22 Average    9.65 Average     11.04 Average    $36.4M Average
 Regional (N=13)   8.70 Median     9.40 Median      9.70 Median     10.00 Median      $19.0M Median


                   9.37 Average    9.77 Average    10.59 Average    15.27 Average    $291.6M Average
    Phase I/II
                   10.00 Median    10.00 Median    10.50 Median     12.00 Median     $114.4M Median
     WW (N=79)
                   10.47 Average   11.31 Average   12.08 Average    14.97 Average    $149.1M Average
 Regional (N=30)   10.00 Median    10.20 Median    10.95 Median     14.00 Median      $85.0M Median

                   12.58 Average   13.83 Average   14.60 Average    22.06 Average    $367.1M Average
     Phase III
                   14.00 Median    15.90 Median    17.45 Median     20.00 Median     $180.0M Median
     WW (N=17)
                   15.43 Average   16.64 Average   17.61 Average    21.97 Average    $194.4M Average
 Regional (N=35)   14.50 Median    15.40 Median    17.00 Median     20.00 Median      $80.0M Median
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Chart 2: 2007‐18 Average EFRs by Stage of Development, Type
              of Licensor & Licensed Territory*
   18.0%
   16.0%                                                            University Exclusive
                                                                    (N=117)
   14.0%                                                            Corporate Worldwide
   12.0%                                                            (N=224)
                                                                    Corporate Regional
   10.0%
                                                                    (N=78)
    8.0%
    6.0%
    4.0%
    2.0%
    0.0%




     * Average Effective Royalty Rate (EFR) calculated for
     assumed annual sales of $500M/yr
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Chart 3: Top Pharma Spent More Cash for Compound Deals, But
 Other Licensees Gave Higher EFRs at Preclinical & Late Stages

                     Deal Size for Preclinical to Phase III Alliances – 2007‐18 ($M)
                                                   Average      Median
                                                                                       $451

                                                                                                $351


                  $221

                           $127         $126
                                                 $89
                                                                 $64
                                                                          $26


               Mid Tier & Major Bio    Japanese (N=16)       Other Biotech (N=119)   Top Pharma (N=76)
                      (N=35)

                Average   Median       Average   Median         Average   Median      Average   Median
 Preclinical      7.5%     6.5%          8.8%     9.3%            7.0%     6.2%         6.0%     7.0%

 Phase I/II      10.4% 10.2%            13.7% 14.5%               8.5%     7.6%       12.4% 12.0%

 Phase III       16.0% 16.0%            13.8% 14.0%              16.4% 15.6%          15.3% 16.2%

                * Average & Median Effective Royalty Rate (EFR)
                calculated for assumed annual sales of $500M/yr
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Chart 4: Effective Royalty Rates (EFRs) for Biopharma Alliances
                     Commenced in 2007
   For 152 Biopharma Alliances signed in 2007, EFRs were higher than for
   the full 2007‐18 period across most types of deals & stages of
   development

                                                               EFR     EFR    EFR         Max
                                                              $200M   $500M   $1B         Share
                   By Stage •Phase     III (N=14)             14.33   15.99   17.28       23.14
                               •Phase I/II (N=29)             9.97    10.71   11.42       17.62
                 (Corp & Excl) •Preclinical (N=19)            8.12     8.76   9.48        11.29

                                    •All (N=109)              9.82    10.53   11.13       14.36
                  Corporate         •Worldwide (N=64)          8.38    8.82   9.31        12.48
                                    •Regional (N=34)          14.12   15.51   16.52       20.84

                                    •All Exclusive (N‐35)      3.32    3.38    3.43        3.51
                  University        •Excl Preclinical (N=8)    4.25    4.39    4.51        4.63
                                    •Excl Lead Stage (N=14)    3.17    3.18    3.19        3.25
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Chart 5: Effective Royalty Rates (EFRs) for Biopharma Alliances
             Commenced Between 2008 and 2009
   For 143 Biopharma Alliances signed between 2008 and 2009, EFRs
   Increased 1.5% Relative to 2007 Worldwide & Phase I/II Deals, but
   Decreased 1‐2% for Regional and Preclinical Stage Deals

                                                               EFR     EFR    EFR         Max
                                                              $200M   $500M   $1B         Share
                   By Stage •Phase     III (N=15)             15.03   16.28   17.05       23.47
                               •Phase I/II (N=29)             11.50   12.09   13.61       20.16
                 (Corp & Excl) •Preclinical (N=15)            6.88     7.20   7.47        12.27

                                    •All (N=104)              10.49   10.99    11.7       17.09
                  Corporate         •Worldwide (N=54)          9.87   10.29   11.18       19.27
                                    •Regional (N=41)          12.91   13.59   14.23       16.74

                                    •All Exclusive (N‐35)      3.33    3.34    3.40        3.95
                  University        •Excl Preclinical (N=7)    5.18    5.03    5.12        7.50
                                    •Excl Lead Stage (N=12)    2.50    2.54    2.59        2.69
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Chart 6: Effective Royalty Rates (EFRs) for Biopharma Alliances
             Commenced Between 2010 and 2012
   For 164 Biopharma Alliances signed between 2010 and 2012, EFRs
   Decreased Relative to 2008‐09 Deals, with the Greatest Declines in
   Phase I/II and Preclinical Stage Deals

                                                                 EFR     EFR    EFR        Max
                                                                $200M   $500M   $1B        Share
                    By Stage •Phase     III (N=12)              14.59   15.90   16.91      24.67
                                •Phase I/II (N=25)              7.68     7.96   8.46       10.19
                  (Corp & Excl) •Preclinical (N=25)             5.06     5.27   5.69       7.91

                                     •All (N=113)               8.14     8.52   9.02       11.45
                   Corporate         •Worldwide (N=71)           6.37    6.66   7.08       9.03
                                     •Regional (N=33)           12.56   13.16   13.98      18.09

                                     •All Exclusive (N‐46)       3.32    3.32   3.37        3.42
                   University        •Excl Preclinical (N=15)    3.43    3.42   3.45        3.37
                                     •Excl Lead Stage (N=12)     3.25    3.28   3.28        3.29
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Chart 7: Effective Royalty Rates (EFRs) for Biopharma Alliances
             Commenced Between 2013 and 2018
  For 136 Biopharma Alliances signed between 2013 and 2018, EFRs
  Increased 1% Relative to 2010‐12 Worldwide & Regional Deals; EFRs for
  Preclincal & Phase I/II Deals Increased 1.5%, While Phase III Fell 1.5%

                                                                  EFR     EFR    EFR       Max
                                                                 $200M   $500M   $1B       Share
                    By Stage •• Phase    III (N=11)              13.90   14.63   15.13     15.64
                                  Phase I/II (N=26)              9.20     9.73   10.19     11.90
                  (Corp & Excl) • Preclinical (N=26)             6.51     6.92   7.44      10.44

                                     • All (N=112)               9.14     9.44   9.80      13.43
                   Corporate         • Worldwide (N=73)           7.32    7.74   8.22      12.02
                                     • Regional (N=30)           14.56   14.63   14.80     16.55

                                     • All Exclusive (N‐23)       2.95    2.96   2.99       3.12
                   University        • Excl Preclinical (N=10)    3.21    3.24   3.27       3.41
                                     • Excl Lead Stage (N=6)      3.17    3.17   3.17       3.33
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                                                                 UNITED STATES
                                                     SECURITIES AND EXCHANGE COMMISSION
                                                                                   WASHINGTON, D.C. 20549


                                                                                          FORM 10-K

(Mark One)

☒           ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                        For the fiscal year ended December 31, 2023
                                                                                              or

☐           TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                      For the transition period from                      to
                                                                             Commission File Number: 001-33500


                       JAZZ PHARMACEUTICALS PUBLIC LIMITED COMPANY
                                                                   (Exact name of registrant as specified in its charter)


                                            Ireland                                                                                                   XX-XXXXXXX
               (State or other jurisdiction of incorporation or organization)                                                            (I.R.S. Employer Identification No.)

                                                                             Fifth Floor, Waterloo Exchange
                                                                       Waterloo Road, Dublin 4, Ireland D04 E5W7
                                                                                   011-353-1-634-7800
                                       (Address, including zip code, and telephone number, including area code, of registrant’s principal executive offices)


                                                               Securities registered pursuant to Section 12(b) of the Act:
                               Title of each class                                      Trading Symbol(s)                              Name of each exchange on which registered
      Ordinary shares, nominal value $0.0001 per share                                        JAZZ                                        The Nasdaq Stock Market LLC
                                                               Securities registered pursuant to Section 12(g) of the Act:
                                                                                         None

     Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒           No ☐

     Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ☐        No ☒
     Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the preceding 12 months (or for
such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes ☒       No ☐
     Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-T (§232.405 of this
chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒         No ☐
      Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or emerging growth company. See the
definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company,” and “emerging growth company” in Rule 12b-2 of the Exchange Act.

Large accelerated filer              ☒ Accelerated filer                   ☐ Non-accelerated filer               ☐ Smaller reporting company                ☐ Emerging growth company                   ☐

     If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised financial accounting
standards provided pursuant to Section 13(a) of the Exchange Act. ☐
     Indicate by check mark whether the registrant has filed a report on and attestation to its management’s assessment of the effectiveness of its internal control over financial reporting under
Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit report. ☒
      If securities are registered pursuant to Section 12(b) of the Act, indicate by check mark whether the financial statements of the registrant included in the filing reflect the correction of an error
to previously issued financial statements. ☐
      Indicate by check mark whether any of those error corrections are restatements that required a recovery analysis of incentive-based compensation received by any of the registrant’s executive
officers during the relevant recovery period pursuant to §240.10D-1(b). ☐

     Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes ☐             No ☒
      The aggregate market value of the voting and non-voting common equity held by non-affiliates of the registrant, as of June 30, 2023, the last business day of the registrant’s most recently
completed second fiscal quarter, was approximately $7,659,805,500 based upon the last sale price reported for the registrant’s ordinary shares on such date on The Nasdaq Global Select Market. The
calculation of the aggregate market value of voting and non-voting common equity excludes 1,610,713 ordinary shares of the registrant held by executive officers, directors and shareholders that the
registrant concluded were affiliates of the registrant on that date. Exclusion of such shares should not be construed to indicate that any such person possesses the power, direct or indirect, to direct or
cause the direction of the management or policies of the registrant or that such person is controlled by or under common control with the registrant.
     As of February 21, 2024, a total of 62,345,283 ordinary shares, nominal value $0.0001 per share, of the registrant were outstanding.
                                                                         DOCUMENTS INCORPORATED BY REFERENCE
      Certain information required by Part III, Items 10-14 of this Form 10‑K is incorporated by reference to the registrant’s definitive Proxy Statement for the 2024 Annual General Meeting of
Shareholders to be filed with the Securities and Exchange Commission pursuant to Regulation 14A. If such Proxy Statement is not filed within 120 days after the end of the fiscal year covered by
this Form 10‑K, such information will be included in an amendment to this Form 10‑K to be filed within such 120-day period.
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Revenues
       The following table presents product sales, royalties and contract revenues, and total revenues for the years ended December 31, 2023, 2022 and 2021
(in thousands except percentages):
                                                                       2023              Change               2022              Change             2021(1)
Xywav                                                            $     1,272,977               33 % $          958,425                79 % $          535,297
Xyrem                                                                    569,730              (44)%           1,020,453              (19)%           1,265,830
Epidiolex/Epidyolex                                                      845,468               15 %            736,398                59 %            463,645
Sativex                                                                   19,668               17 %             16,825                32 %             12,707
Sunosi3                                                                       —               N/A(2)            28,844               (50)%             57,914
 Total Neuroscience                                                    2,707,843               (2)%          2,760,945                18 %          2,335,393
Rylaze                                                                   394,226               40 %            281,659               229 %             85,629
Zepzelca                                                                 289,533                7%             269,912                 9%             246,808
Defitelio/defibrotide                                                    184,000               (5)%            194,290                (2)%            197,931
Vyxeos                                                                   147,495               15 %            127,980                (5)%            134,060
Erwinaze/Erwinase                                                             —                —                    —                N/A(2)            69,382
 Total Oncology                                                        1,015,254               16 %            873,841                19 %            733,810
Other                                                                     13,846              108 %              6,643               (32)%              9,798
 Product sales, net                                                    3,736,943                3%           3,641,429                18 %          3,079,001
High-sodium oxybate AG royalty revenue                                    75,918              N/A(2)                —                 —                    —
Other royalty and contract revenues                                       21,343               19 %             17,945                18 %             15,237
Total revenues                                                   $     3,834,204                5% $         3,659,374                18 % $        3,094,238

_________________________
  (1) The results of operations of the GW business have been included from the closing of the acquisition of GW on May 5, 2021.
  (2) Comparison to prior period is not meaningful.
  (3) Net product sales of Sunosi U.S. are included until the date of divestment to Axsome of May 9, 2022.
Product Sales, Net
       Xywav product sales increased in 2023 compared to 2022, primarily due to increased sales volumes of 28% and, to a lesser extent, a higher selling
price. Xywav product sales were positively impacted by Xywav for IH as we see continued growth of new prescribers since its launch in late 2021 and by
educational initiatives around the benefit of lowering sodium intake. Exiting 2023, there were 9,525 patients taking Xywav for narcolepsy and 2,775 taking
Xywav for IH, an increase of approximately 11% and 59%, respectively, compared to 2022. Xywav product sales increased in 2022 compared to 2021,
primarily due to increased sales volumes of 76% due to the positive impact of the launch of Xywav for IH in late 2021 and strong adoption in narcolepsy.
Xyrem product sales decreased in 2023 compared to 2022, primarily due to decreased sales volumes of 49%, reflecting the strong adoption of Xywav by
existing Xyrem patients and the impact of high-sodium oxybate competition, offset by a higher selling price and lower gross to net deductions. Xyrem
product sales decreased in 2022 compared to 2021, primarily due to a decrease in sales volume of 23% reflecting adoption of Xywav by existing Xyrem
patients, partially offset by a higher selling price. Epidiolex/Epidyolex product sales increased by 15% in 2023 compared to 2022, primarily due to increased
sales volumes of 15% due to increased demand and expansion in European markets and, to a lesser extent, a higher selling price, partially offset by higher
gross to net deductions. Epidiolex/Epidyolex product sales increased by 59% in 2022 compared to 2021, which included product sales from the closing of the
GW Acquisition on May 5, 2021 to December 31, 2021. On a pro forma basis, Epidiolex/Epidyolex product sales increased by 12% in 2022 compared to
2021, primarily due to an increase in sales volumes of 16% and, to a lesser extent, a higher selling price, partially offset by higher gross to net deductions.
Sunosi product sales decreased in 2022 as compared to 2021 as we completed the U.S. divestment of Sunosi in May 2022.
       Rylaze product sales increased in 2023 compared to 2022, primarily due to increased sales volumes of 37% and, to a lesser extent, a higher selling
price, offset by higher gross to net deductions. The increased sales volumes reflect the significant unmet patient need for a high-quality, reliable supply of
Erwinia asparaginase for patients with ALL. Rylaze product sales increased in 2022 compared to 2021, primarily due to increased sales volumes following its
launch in the U.S. in July 2021. Zepzelca product sales increased by 7% in 2023 compared to 2022, primarily due to a higher selling price and increased sales
volumes, offset by higher gross to net deductions. Zepzelca product sales increased by 9% in 2022 compared to 2021, primarily due to a higher selling price
and higher sales volumes. Defitelio/defibrotide product sales decreased by 5% in 2023



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                                  Tab 6
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                                                                               Avadel Pharmaceuticals plc
                                                                               (NASDAQ: AVDL)
                                                                               August 2024


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Avadel: All the Components for Long-Term Growth


   LUMRYZ represents               U.S net product                                                       Strong representation
                                                                                More than 1,900
     $1B+ peak sales            revenue of $41.5M for
                                                                             patients on LUMRYZ as        across all narcolepsy
      opportunity in            the second quarter of                                                       patient segments
                                                                                   of Q2 2024
       narcolepsy                       2024




    500 top prescribers       sNDA for LUMRYZ’s use in                                                  Future oxybate estimated
      compose 50% of            pediatric narcolepsy                           Initiated Phase 3             market value:
    prescription volume                                                        REVITALYZ trial
                              under FDA review; target                                                          >$5B
                                action date of Sept 7                        evaluating LUMRYZ for
                                                                                                            Represented by:
    85% of top HCPs have                                                        use in Idiopathic
     prescribed LUMRYZ                                                           Hypersomnia             > 50K Patients



                                                                                                                                  4
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LUMRYZ has Significant Potential Future Peak Revenue Opportunity


Addressable market opportunity                                                       50k+
                                                                                     patients


HCP reported market expansion¹                                            +35% - 113%                                                                     Peak sales²
                                                                         of new patient starts                                                            opportunity
                                                                        Today                   Future
Future oxybate-treated patients (est)
                                                                         16k                 20-25k                                                           >$1B
HCP reported market share¹                                                       50-60%

Potential future range
of LUMRYZ treated patients                                                           >10k

           Note: Figures above represent market opportunity, peak sales opportunity and potential patient opportunity based on available information and management’s current beliefs regarding
           these opportunities but do not reflect estimates, expectations, guidance or plans. Actual results may differ materially from the opportunities disclosed above. Subject to change based on
           updated information and actual results.                                                                                                                                                      6
           Source: 1. Avadel proprietary market research (6 quantitative demand studies across ~700 oxybate prescribers) 2. Based on estimated current net pricing in the market, subject to change
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                                CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that true and correct copies of the foregoing

 document were caused to be served on September 16, 2024 on the following counsel in the manner

 indicated below.

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  Dated: September 16, 2024                             /s/ Daniel M. Silver
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